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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:02-cr-0418 GEB KJN P
12                      Respondent,
13          v.                                         ORDER
14   FERNANDO LOPEZ-CUEVAS,
15                      Movant.
16

17          Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On April 28, 2014, the magistrate judge filed findings and recommendations herein which

21   were served on all parties and which contained notice to all parties that any objections to the

22   findings and recommendations were to be filed within fourteen days. Movant has not filed

23   objections to the findings and recommendations.

24          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   ////
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     Case 2:02-cr-00418-GEB-KJN Document 237 Filed 06/16/14 Page 2 of 2


 1         Accordingly, IT IS HEREBY ORDERED that:

 2         1. The findings and recommendations filed April 28, 2014, are adopted in full; and

 3         2. Movant’s March 12, 2014, motion (ECF No. 235) is denied.

 4   Dated: June 13, 2014

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